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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

                                        )
PERKINS COIE LLP,                       )
                                        )
        Plaintiff                       )            Civil Action
                                        )            No. 1:25cv-00716(BAH)
                                        )
                                        )
                     v.                 )
                                        )
UNITED STATES                           )
DEPARTMENT OF JUSTICE,                  )
                                        )
        Defendant.                      )
                                        )



         BRIEF OF LAWYERS DEFENDING AMERICAN DEMOCRACY
     AS AMICUS CURIAE IN SUPPORT OF PLAINTIFF PERKINS COIE LLP’S
                   MOTION FOR SUMMARY JUDGMENT




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                     RULE 26.1 CORPORATE DISCLOSURE STATEMENT

        Amicus Curiae Lawyers Defending American Democracy is a non-partisan tax-exempt

501(c)(3) corporation. Amicus is not owned by any parent corporation and no publicly held

company has 10% or more ownership in LDAD.

                              IDENTITY AND INTEREST OF AMICUS

        Lawyers Defending American Democracy (LDAD) files this amicus brief in support of

plaintiff’s expedited motion for summary judgment.                  LDAD is a non-profit, non-partisan

organization devoted to encouraging the legal profession to enforce and uphold principles of

democracy and law, consistent with our obligations as lawyers; demanding accountability from

lawyers and public officials; and identifying attacks on legal norms and prescribing redress for

them. It has a significant interest in this case because the Executive Order at issue undermines

basic principles of democracy and the rule of law.1 Perkins Coie and the United States Department

of Justice have consented to our filing this brief, and a motion for leave to file it is attached.


                                      SUMMARY OF ARGUMENT

        The Order regarding Perkins Coie is a serious intrusion by the executive branch on the

authority of the judicial branch to regulate the conduct of lawyers. This intrusion represents an

unprecedented effort by the executive to undermine the independence of the legal profession by

subjecting it to the whims of the President. Such independence is necessary to enable lawyers to

fulfill their duty to represent clients without interference from any other party, especially the


1
 The brief addresses Executive Order. No. 14230, codified at 90 Fed. Reg. 11,781 (Mar. 6, 2025) titled “Addressing
Risks from Perkins Coie LLP,” (“Order”), and the accompanying Fact Sheet titled “Fact Sheet: President Donald J.
Trump Addresses Risks from Perkins Coie LLP” of the same date (“Fact Sheet”).

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government. By threatening law firms, the Order also attempts to limit the issues that lawyers can

raise in courts. This is a fundamental challenge to the rule of law, because it seriously weakens the

ability of the legal system to serve as a check on the exercise of executive power.

        The Order purports to establish broad and vague standards of professional conduct that are

not defined but must be inferred from various parts of the order. The unifying thread of those

standards is that lawyers must not represent clients whom the President dislikes nor present

arguments that he disapproves. The Order then determines that Perkins Coie has violated these

standards simply by representing certain clients in various matters, regardless of the legal merits

of their claims, the fact that clients were successful in many of these cases, or the conformity of

lawyers to judicially-approved rules of professional conduct during the representation.

        The Order imposes draconian sanctions on the firm for these ostensible violations. The

Order discourages parties from becoming clients of Perkins Coie by (1) threatening them with

losing or being ineligible for government contracts; (2) purporting to limit the types of claims that

the firm may bring on their behalf and the arguments it may make in support of those claims; (3)

undermining the ability of the firm’s lawyers to represent them effectively by denying lawyers

security clearances, the ability to enter federal buildings, and the ability to meet with government

employees; and (4) creating the threat that those who seek to hire the firm will be guilty by

association and may be the target of other adverse action by the administration. To state the

obvious, a law firm’s financial survival is based on its representation of clients. The intent of the

order is to cripple a preeminent law firm because the President disapproves of the clients and

causes that it represents.

        The President has issued executive orders against additional law firms, and has stated that

he intends to pursue still other firms for behavior that he deems “very dishonest.” The President



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has intensified his campaign with a memorandum to the Attorney General regarding “Preventing

Abuses of the Legal System and the Federal Courts,” which directs that official to “seek sanctions

against attorneys and law firms who engage in frivolous, unreasonable, and vexatious litigation”

against the United States and in agency proceedings. The memo also directs the Attorney General

to review conduct by lawyers in such matters over the last eight years. This is, of course, the period

in which various investigations of the President occurred, indicating that his ostensible concern

about lawyer misconduct will be focused on representation in matters involving him or of which

he disapproves.

         The Order thus is part of a concerted campaign to place law firms on an “enemies list” that

could put their very survival in jeopardy. The goal is to condition law firms’ ability to practice law

and serve their clients on the President’s approval of their conduct. By usurping the authority of

the judiciary and attempting to make the legal profession subservient to the executive, it seriously

weakens the ability of the legal system to vindicate individuals’ rights and to hold the President

and the executive branch accountable to the rule of law.


                                           ARGUMENT

   I.       The Executive Order is a Usurpation of Judicial Authority that Violates Basic
            Rule of Law Principles

         It is a well-settled principle in the United States that, with minor exceptions, primary

responsibility for regulating lawyers’ conduct rests with the judicial branch. As the 2018 American

Bar Association Report on the Evaluation of Disciplinary Enforcement noted, “[e]xclusive judicial

regulation of lawyers has developed since colonial times.” By the late 1800s, “state courts were

asserting an exclusive right to regulate lawyers” based on “the constitutional doctrines of inherent

power and separation of powers”. Id. 8. “Today,” the Report observed, “judicial regulation of

lawyers is a principle firmly established in every state.” Id. 8. The highest court in each
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jurisdiction has the authority to establish and enforce rules of professional conduct for lawyers

who are members of the bar in that jurisdiction, as well as for lawyers from other jurisdictions who

participate in proceedings in the state.

       In addition to regulation by the highest court in each jurisdiction, individual courts have

the authority to discipline lawyers who appear before them for misconduct. Today there is also

limited legislation in some states that regulates specific lawyer conduct. See, e.g., N.Y. Judiciary

Law §§ 90–499 (fraudulent legal practice); Florida Statutes Title XXXII, Chapter 454 (soliciting

clients at accident scenes or hospitals). When courts are confronted with these legislative efforts,

they typically consider whether to uphold them as a matter of comity. See, e.g., Ark. Properties v.

Cameron, 681 S.W.3d 133, 140 (Ky. 2023)

       Finally, there is very limited executive branch regulation of the conduct of lawyers. This

involves rules established by several federal agencies governing the conduct of lawyers and others

in agency proceedings and dealings with the agency. See, e.g., 17 C.F.R. § 201.102(e) (Securities

& Exchange Commission); 37 C.F.R. Part 11 (Patent & Trademark Office). Authority for such

provisions is based on the need to enable agencies to perform their statutory functions. See Touche

Ross Co. v. SEC, 609 F.2d 570, 582 (2d. Cir. 1979) (SEC Rule 2(e) “provides the Commission

with the means to ensure that those professionals, on whom the Commission relies heavily in the

performance of its statutory duties, perform their tasks diligently and with a reasonable degree of

competence”). As one prominent scholar notes, “The vast majority of rules apply to lawyers

practicing before an agency acting in its judicial capacity.” George M. Cohen, The Laws of Agency

Lawyering, 84 Fordham L. Rev. 1963, 1978-1979 (2016).

       The central role of the judicial branch in regulating lawyer conduct reflects lawyers’

distinctive role in the U.S. legal system. As the preamble to the American Bar Association Model



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Rules of Professional Conduct declares, “A lawyer, as a member of the legal profession, is a

representative of clients, an officer of the legal system and a public citizen having special

responsibility for the quality of justice.” Lawyers have a special responsibility to sustain what the

commentary to Rule 1.3 of the DC Rule of Professional Conducts calls “our government of laws

and not of individuals.” 2 This requires that they be able to represent clients who seek to challenge

the legality of executive or legislative action in order to affirm the principle that no one is above

the law. In doing so, lawyers are required “honestly and ably to aid the courts in securing an

efficient administration of justice.” In re Integration of Nebraska State Bar Association, 275 N.W.

265, 268 (1937). Thus, “[t]he practice of law is so intimately connected and bound up with the

exercise of judicial power and the administration of justice that the right to define and regulate its

practice naturally and logically belongs in the judicial department.” Id.

         Attempts by the executive branch, particularly the Office of the President, to engage in

expansive regulation of lawyers’ conduct pose the especially serious danger of punishing lawyers

who represent clients seeking to hold the executive accountable under the law. This country’s

history illustrates the gravity of this risk. The Crown’s colonial representatives resorted to

disbarment “more than occasionally to punish or neutralize lawyers who were perceived as

politically out-of-step or otherwise uncooperative.” Charles W. Wolfram, Toward a History of

American Legal Ethics-I. Origins, 8 Univ. of Chicago L. School Roundtable 469, 476 (2001). As

with the Order that is at issue in this case, such brazen political interference with lawyers’ practice

is fundamentally inconsistent with the rule of law.

         The importance of preserving the independence of lawyers has on occasion resulted in

striking down even the judicial exercise of authority over lawyers. In In re Austin, 5 Rawle 191


2
  Citations in this brief are to the DC Rules of Professional Conduct, which are generally representative of the rules
in other jurisdictions.

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(Pa. 1835), most of the lawyers in a county in Pennsylvania were disbarred by the Court of

Common Pleas for publishing criticism of the President of that court that the court regarded as

disrespectful. The Pennsylvania Supreme Court, however, struck down this sanction. "[T]o subject

the members of the profession to removal at the pleasure of the court," the Chief Justice said,

“would leave them too small a share of the independence necessary to the duties they are called to

perform to their clients and to the public. As a class, they are supposed to be, and in fact have

always been, the vindicators of individual rights, and the fearless asserters of the principles of civil

liberty; existing where alone they can exist, in a government not of parties or men, but of laws!”

Id. at 203.

        The District of Columbia Court of Appeals, the highest court in that jurisdiction, is

representative in its statement of the judiciary’s regulatory authority:

        In the exercise of its inherent jurisdiction over members of the legal profession, the
        Court established the District of Columbia Bar and the Board on Professional
        Responsibility. The Court has the power to promulgate the rules regarding attorney
        discipline and to impose discipline upon attorneys. The Board on Professional
        Responsibility is the disciplinary arm of the Court, which administers the attorney
        discipline system and supports it in the adjudication of disciplinary cases.
        https://www.dccourts.gov/court-of-appeals/learn-more/attorney-discipline
        This authority of the judicial branch to regulate lawyer professional conduct helps ensure

that the legal system and the lawyers who practice in it are protected as much as possible from

political influence, especially from the executive because of the fear of concentrating power in that

branch of government.

        Lawyers must be allowed to represent clients without fear of political persecution to ensure

that “each member of our society is entitled to have such member’s conduct judged and regulated

in accordance with the law; to seek any lawful objective through legally permissible means; and

to present for adjudication any lawful claim, issue, or defense.” DC Rule of Professional Conduct

1.3, comment 2.

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        The goal of the Order to punish the firm based simply on the personal preferences of the

President is reflected in the complete absence of any of the procedural protections provided in

judicial regulation of professional conduct that are integral to the rule of law.

        Judicially established rules governing the conduct of the profession are adopted only after

extensive opportunity for comment by lawyers, deliberation by the court, and notice of a final

decision and the date on which a rule will be effective. See, e.g., D.C. Court of Appeals, No. m287-

24, Notice, December 10, 2024. Rules also include extensive comments that explain their

rationales and clarify their application.

        Furthermore, lawyers are subject to sanctions for violation of judicially-established rules

only after notice of an alleged violation, an opportunity to respond, and application of general rules

to particular conduct that is accompanied by a statement of the reasons for a decision. DC Court

of Appeals Rule XI is an example of such procedural protections. It requires that in order to initiate

disciplinary proceedings, Disciplinary Counsel must file a petition under oath and provide a copy

to the attorney who is the subject of the proceedings. The petition must be “sufficiently clear and

specific to inform the attorney of the alleged misconduct.” Rule XI, Disciplinary Proceedings,

Section 8: Investigation and Hearings, 8(c).

        The attorney has 20 days to file a reply to the petition. Section 8(d). After a hearing is

scheduled, the attorney must be given notice of the date and place of the hearing, which must be

at least 15 days after the service of the notice. The notice “shall also advise the attorney that, at the

hearing, the attorney shall have the right to be represented by counsel, to cross-examine witnesses,

and to present evidence in defense or mitigation of the charges.” Id.

        The Hearing Committee must submit a report to the Board on Professional Responsibility

within 120 days with its findings and recommendations. Section 9. If the attorney files an



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exception to the report, the matter is scheduled for submission of briefs and oral argument before

the Board. If the Board recommends disbarment or suspension, the attorney has 30 days to show

cause why the Court should not enter an order of suspension pending final action on the Board's

recommendation. In cases in which exceptions have been filed, the DC Court of Appeals schedules

the matter for consideration.

        The Order’s absence of any semblance of due process in establishing ostensible standards,

determining that Perkins Coie lawyers have violated them, and imposing sanctions on the entire

firm is of course a violation of the Constitution in itself, a point on which counsel for the firm and

other amicus briefs elaborate. Beyond this, however, it is antithetical to the rule of law because it

reflects the exercise of executive power based purely on the President’s desires unfettered by any

legal standards.

        It is worth examining the Order in some detail to fully appreciate this point. First, the order

purports to sanction Perkins Coie for certain actions by persons no longer at the firm whose conduct

already has been adjudicated by the legal system and, with one minor exception, who have been

exonerated. Complaint ¶8. Second, the order does not clearly state the standards that are the basis

for sanctions, nor does it describe precisely the conduct that has allegedly violated them.

Nonetheless, one can piece together portions of the order and the Fact Sheet that accompanies it to

infer a new category of improper conduct by lawyers that the order purports to establish.

        The Order declares that lawyers at Perkins Coie have engaged in “dishonest and dangerous

activity.” Order §1. This consists first of representing clients who seek to “judicially overturn

popular, necessary, and democratically enacted election laws, including those requiring voter

identification.” Id. Attempting to “judicially overturn” legislation, however, is an unremarkable

activity in which any lawyer engages when the lawyer seeks judicial review of the lawfulness of



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legislation, especially on Constitutional grounds. The fact that such legislation may be “popular”

is immaterial to its legality, as is the view of some parties that it is “necessary.” Indeed, the firm’s

clients were successful in several election law cases relating to voting rights.

        The second type of activity is representing clients with the goal of “undermining

democratic elections, the integrity of our courts, and honest law enforcement.” Id. What constitutes

“undermining” these institutions is unclear. It is worth noting, for instance, that one activity in

which Perkins Coie engaged was successfully defending numerous challenges to the outcome of

the 2020 presidential election. Overwhelming rejection of these challenges by the courts suggests

that, contrary to the contention in the Order, Perkins Coie lawyers were not engaged in attempting

to undermine democratic elections but to vindicate them.

        The third activity representing clients in “partisan lawsuits against the United States.” EO

Fact Sheet. Again, it is not clear what constitutes “partisan” lawsuits. The merits of the legal claims

in these lawsuits seemingly is not the basis for this characterization. One must infer from the Order

that the term “partisan” instead is based on the extent to which the President disfavors the clients

whom Perkins Coie has represented and the claims that they have presented. Finally, the Order

says that the firm has engaged in “unethical and discriminatory actions that threaten our elections,

military strength, and national security.” Id. There is no description whatsoever of what the firm

has done that warrants this conclusion.

        These broad and vague descriptions of conduct provide no meaningful guide to what

behavior complies with or violates the standards that the Order purports to announce, other than it

involves representation of clients of whom the President disapproves, and presentation of

arguments that he dislikes. This leaves a law firm completely at the mercy of the President’s

discretion. Furthermore, the putative standards were adopted with no notice that the standards



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were under consideration, no opportunity to comment on them, and no clear explanation of what

they mean and the rationale for adopting them.

         Next, in applying these standards to Perkins Coie, Order gave no notice to the firm of the

accusations against it and no opportunity to respond to them, call witnesses on its behalf, or contest

the accusations in a hearing before a neutral decision maker. Nor has the firm received any

explanation based on reasons and supporting evidence for the decision to penalize the firm. The

basis for the sanctions is simply the President’s dislike of the firm’s activities without regard to

their legality or compliance with the judiciary’s rules of professional conduct governing lawyers.

By violating basic principles of due process and impartiality, the Order provides a vivid reminder

of the critical importance of the rule of law in checking what otherwise would be unconstrained

executive power. It is a stark illustration of why the judicial branch, not the executive, has the

primary responsibility for regulating the conduct of lawyers.

   II.      The Order Directly Interferes with the Professional Responsibilities of Lawyers

         The expert opinions in this case describe rules of professional conduct with which the

Order is at odds. This section therefore will not discuss these rules in detail, but will simply

underscore their importance to the integrity of the legal system and the rule of law. Lawyers are

required to follow judicially-established rules of professional conduct and face disciplinary

sanctions for violating them. By purporting to establish standards of conduct at odds with the rules

of professional conduct, the Order attempts to coerce lawyers not to follow the judiciary’s rules of

professional conduct.     This directly interferes with lawyers’ ability to provide adequate

representation to clients. Cf. Makesom v. Martin County, 491 So.2d 1109 (Fla. 1986) (finding that

a court had inherent authority to invalidate a legislative limit on attorney’s fees in representing




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indigent criminal defendants, when limiting a fee to the statutory maximum would interfere with

the Sixth Amendment right to effective assistance of counsel).

        First, the Order interferes with lawyers’ duties to pursue a client’s lawful goals through any

means permitted by the law. As DC Rule of Professional Conduct Rule 1.3 provides:

        (a) A lawyer shall represent a client zealously and diligently within the
        bounds of the law.

        (b) A lawyer shall not intentionally:

        1) Fail to seek the lawful objectives of a client through reasonably available
           means permitted by law and the disciplinary rules.

Comment 1 to the Rule says, “This duty requires the lawyer to pursue a matter on behalf of a client

despite opposition, obstruction, or personal inconvenience to the lawyer, and to take whatever

lawful and ethical measures are required to vindicate a client’s cause or endeavor.”

        The Order, however, effectively requires that Perkins Coie lawyers’ representation of

clients be guided not by the law and the rules of professional conduct, but by concern about

whether the claims they pursue and the positions they take will be deemed by the President to be

objectionable.

        This need for lawyers to ensure that they do not displease the President is fundamentally

at odds with their professional responsibility to diligently represent clients within the bounds of

the law rather than to be influenced by political considerations. By interfering with this

responsibility of lawyers, the Order will help concentrate the power of the executive by limiting

the ability of the legal system to serve as a check on that power.

        Lawyers’ ability to exercise independent judgment in representing clients is especially

crucial in criminal proceedings. The right to effective assistance of counsel in such proceedings

“is critical to the ability of the adversarial system to produce just results. An accused is entitled to



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be assisted by an attorney, whether retained or appointed, who plays the role necessary to ensure

that the trial is fair." Strickland v. Washington, 466 U.S. 668, 685 (1984). The Court in Strickland

said that the government violates this right “when it interferes in certain ways with the ability of

counsel to make independent decisions about how to conduct the defense." Id. at 686. If the Order

stands, lawyers who fear executive retribution will be less likely to represent defendants in

prosecutions brought by the administration, thus reducing the availability of experienced counsel

in such proceedings. Those who are willing to do so will have an incentive to avoid presenting

defenses with which the executive disagrees.

       This is a profound threat to the rule of law because it enhances the executive’s ability to

use its formidable power of criminal prosecution against political opponents. This is not simply a

theoretical possibility, since the President commonly characterizes many people with whom he

disagrees as criminals. See, e.g., Nnamdi Egwuonwu and Ryan J. Reilly, “Trump calls for jailing

his perceived opponents in Justice Department speech,” NBC News, March 14, 2025. As the Wall

Street Journal has reported, “While every FBI director since J. Edgar Hoover has taken pains to

keep the White House at arm’s length, the new Trump administration has taken the opposite tack,

working to bring the traditionally independent ethos of the FBI and Justice Department firmly

within the president’s grasp.” “Trump Tightens Grip on FBI and Justice Department,” Wall Street

Journal, March 7, 2025.

       Related to this, the Order is in direct conflict with the long-standing principle in our country

that lawyers should provide representation on behalf of socially or politically unpopular people or

causes. DC Rule of Professional Conduct 1.2(b), for instance, encourages this by providing, “A

lawyer’s representation of a client, including representation by appointment, does not constitute

an endorsement of the client’s political, economic, social, or moral views or activities.” As



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comment 3 to that Rule says, “Legal representation should not be denied to people who are unable

to afford legal services, or whose cause is controversial or the subject of popular disapproval.”

The rule of law insists that all persons are equal before the law and are entitled to present their

claims regardless of popular opinion.

          This principle is exemplified by John Adams’ decision to represent British soldiers accused

of murder in the Boston Massacre in 1775. Adams did this knowing that his decision would elicit

criticism. It did: “The patriots of Boston railed against [Adams and his co-counsel]. It was said

that rocks had been thrown through the windows of Adams’s home. The men were jeered in the

streets. Clients were lost.” David Fisher & Dan Adams, John Adams under Fire: The Founding

Father's Fight for Justice in the Boston Massacre Murder Trial 35 (2020). Adams nonetheless

insisted that “every lawyer must hold himself not only to his country, but to the highest and most

infallible of all tribunals for the part he should act.” “Counsel ought to be the very last thing that

an accused person would [lack] in a free country,” Adams said. “The bar ought to be independent

and impartial at all times and in every circumstance.” Id. 32

          Consistent with current rules of professional conduct, “Adams made sure to profess no

sympathy for the accused officer, making it clear that he was not so much defending the man as

defending the law.” Id. 33. By discouraging representation of clients who are unpopular with the

executive, the Order will reduce the availability of lawyers who are willing to follow Adams’s

example.

          The Order also undermines the integrity of the legal system by interfering with Perkins

Coie lawyers’ ability to competently represent their clients. DC Rule of Professional Conduct 1.1

states:




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        a) A lawyer shall provide competent representation to a client. Competent
        representation requires the legal knowledge, skill, thoroughness, and preparation
        reasonably necessary for the representation.

        (b) A lawyer shall serve a client with skill and care commensurate with that
        generally afforded to clients by other lawyers in similar matters.

        Suspending Perkins Coie lawyers’ security clearances, denying them access to federal

buildings, limiting government employees’ interaction with them, and refusing to provide them

with Sensitive Compartmented Information Facilities can prevent them from competently and

effectively representing clients in proceedings involving the government as required by the rules.

Under these circumstances, lawyers will need to determine if these disabilities will impair their

ability to effectively represent their clients. If so, they will need to seek leave to withdraw from

representation, thus depriving clients of their right to counsel of their choice. See, e.g., DC Rule

of Professional Conduct 1.16(a)(1).

        This right of clients is essential because a client must have confidence and trust in their

lawyer in order for the representation to be effective. The client must be willing to disclose to the

lawyer information that may be sensitive or embarrassing and must believe that the lawyer at all

times is pursuing their interest. Courts therefore give great weight to a client’s choice of counsel

. See, e.g., Consumers Beverages, Inc. v Kavcon Dev. LLC, 227 AD3d 1381 (N.Y. App. Div. 4th

Dept. 2024): “[W]e note the seriousness of a motion to disqualify a party’s counsel of choice.

Disqualification of a law firm during litigation implicates not only the ethics of the profession but

also the substantive rights of the litigants”).

        The right is especially crucial in criminal proceedings. As the Supreme Court stated in the

landmark case of Powell v. Alabama recognizing the right to counsel in capital cases, “It is hardly

necessary to say that, the right to counsel being conceded, a defendant should be afforded a fair

opportunity to secure counsel of his own choice.” 287 US 45, 53 (1932).

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       Another way in which the Order will undermine the professional responsibilities of lawyers

in a democratic legal system is through the operation of attorney conflict of interest rules. DC Rule

of Professional Conduct 1.7(b)(4), as do rules in other jurisdictions, provides that a lawyer shall

not represent a client if “[t]he lawyer’s professional judgment on behalf of the client will be or

reasonably may be adversely affected by . . . the lawyer’s own financial, business, property, or

personal interests.” Lawyers may reasonably fear that representation that displeases the President

will result in public excoriation, denial of government contracts, loss of security clearance or

access to federal buildings, and other potential disadvantages.

       A lawyer whose representation of a client is influenced by the desire to avoid incurring

these penalties would be violating their professional responsibility. In order to avoid this situation,

lawyers are likely to represent clients who will not challenge the administration’s actions, not bring

claims against those whom the President regards as his supporters, and not advance legal

arguments that the President finds threatening or with which he may disagree. The result will be

to limit the number of firms that will undertake representation of clients who challenge actions by

the executive. A predictable consequence as well is to reduce the number of parties who are willing

to retain Perkins Coie and other firms that are the target of similar executive orders. The Order

thus uses the rules of professional conduct as an instrument to interfere with clients’ right to

effective representation by counsel of their choice, and to prevent firms from holding the executive

accountable under the law.

       Finally, the Order’s interference with the ability of lawyers to practice in accordance with

rules of professional conduct impairs potential clients’ First Amendment right to petition the

government for redress of grievances. Reliance on counsel can be crucial to enable the exercise of

this right. Comment 1 to DC Rule of Professional Conduct 6.1 on pro bono service, for instance,



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notes, “The rule. . . recognizes that the rights and responsibilities of individuals and groups in the

United States are increasingly defined in legal terms and that, as a consequence, legal assistance

in coping with the web of statutes, rules, and regulations is imperative for persons of modest and

limited means, as well as for the relatively well-to-do.” The Order attempts to preclude Perkins

Coie from assisting clients in seeking redress for certain types of grievances, thus interfering with

this First Amendment right.

        In sum, the Order prevents lawyers from fulfilling professional responsibilities that are

integral to the functioning of an impartial legal system. The Order limits lawyers’ ability to

represent clients diligently within the bounds of the law by effectively requiring that they take into

account whether the President is likely to disapprove of their representation. It limits their ability

to represent clients competently by threatening to deprive them of access to resources that they

may need to do so. It discourages lawyers from representing clients who are unpopular with the

President and his supporters and threatens, in particular, to interfere with providing effective

assistance of counsel in criminal proceedings. A lawyer who reasonably fears being penalized by

the Order may not be able to fulfill the duty to represent a client without regard for the lawyer’s

own personal interest. If so, the lawyer must withdraw from or decline representation of clients.

Lawyers are crucial in ensuring that the executive is constrained by the rule of law, and the Order

significantly impairs their ability to do so.

        Finally, it is important to emphasize that the Order is not directed simply at individual

lawyers. The Order imposes penalties on all lawyers in the firm, regardless of their individual

conduct. This makes clear that its concern is not with specific putative improper conduct. Rather,

it is with the ability of Perkins Coie to use its reputation, experience, and resources to represent

clients and advance legal arguments that could challenge the legality of the administration’s



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actions. That the goal is to hinder a significant portion of the legal profession from presenting such

challenges is made clear by administration actions targeting other prominent law firms, and by the

President’s statement that he is planning similar measures against several other major law firms

that are especially well equipped to provide such representation. As he has said, ““We have a lot

of law firms that we’re going to be going after because they were very dishonest people.” Elvin

Mulvaney & C. Ryan Barber, “Fear of Trump Has Elite Law Firms in Retreat,” Wall Street Journal,

March 7, 2025. The same article says, “Advocacy groups and smaller law firms say it has been

more difficult to recruit larger firms to help with cases against Trump.”

       The administration therefore is attempting to sideline many lawyers who are in an

especially good position to hold it legally accountable. This is fundamentally at odds with the

basic principle that no person – least of all the executive – is above the law.


                                          CONCLUSION

       The President’s intrusion on judicial authority to regulate the legal profession, and the

resulting impact on lawyers’ independence and clients’ ability to select the counsel of their choice,

have grave consequences for the rule of law in this country.

       The Order targeting Perkins Coie, similar retaliatory executive orders targeting other firms,

and the threat of action against still other firms constitutes a campaign to dissuade law firms on

pain of sanctions from: (1) representing any clients disfavored by the President; (2) presenting

claims that the President dislikes against the Government or against anyone whom he supports,

regardless of the legal merits of the client’s claim; and (3) advancing any legal position that the

President disfavors, regardless of the legal viability of that position. As such, it represents an

unmistakable attempt to limit the legal accountability of the President through intimidation of the

legal profession.


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       This message is not lost on major law firms. As one law firm advisor has said, “American

law firms have always represented interests adverse to the US government, without worrying if

there would be retribution or sanctions until now. It’s created just an incredible amount of fear.”

Katelyn Polantz, “The chilling effect of Trump’s war against the legal establishment,” CNN, March

11, 2025.

       The impact of these provisions effectively is that the President is publicly placing Perkins

and any other firms it chooses on an administration “enemies list.” If the Order stands, nothing

will prevent the President from systematically doing the same to any firm he fears might represent

clients posing any challenge to his exercise of power. The Order therefore is a fundamental assault

on the rule of law and the very integrity of the Unites States legal system.



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                             CERTIFICATE OF COMPLIANCE

       Pursuant to LCvR 7(o), I hereby certify that this brief conforms to the requirements of

LCvR 5.4, complies with the requirements set forth in Fed. R. App. P. 29(a)(4), and does not

exceed 25 pages in length.

       DATED this 3rd day of April 2025.

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                                CERTIFICATE OF SERVICE

       I hereby certify that on April 3, 2025, I electronically filed the original of this brief with

the Clerk of the Court using the CM/ECF system. Notice of this filing will be sent to all attorneys

of record by operation of the Court’s electronic filing system.

       DATED this 3rd day of April 2025.

                                                  /s/ Aderson B. Francois
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